













Opinion issued November 22, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00872-CV
____________

BENCHMARK MANAGEMENT COMPANY, BENCHMARK
HOSPITALITY, INC.; AND HUMBERTO CABANAS, Appellants

V.

220 VENTURE PARTNERS, L.P., Appellee




On Appeal from the 157th District Court
Harris County, Texas
Trial Court Cause No. 2006-43999




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants have filed an uopposed motion to dismiss their appeal.  No opinion
has issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Higley.


